Case 0:23-cv-61354-DMM Document 30-5 Entered on FLSD Docket 01/25/2024 Page 1 of 2




                     EXHIBIT C
Case 0:23-cv-61354-DMM Document 30-5 Entered on FLSD Docket 01/25/2024 Page 2 of 2
                                CONFIDENTIAL




        P2P SERVICES ONLY

        CITY ADDENDUM

        Florida

        Effective as of: January 1, 2022

        You entered into an agreement with Rasier-DC, LLC for your use of certain software or other
        services. This is an addendum to that agreement and it sets forth additional terms and conditions
        that are applicable in the state of Florida. By clicking “I accept”, you acknowledge that you have read
        and understand the below disclosures.


         1. INSURANCE COVERAGE. Company maintains during the terms of this agreement insurance
            related to your provision of passenger Transportation Services with the following coverage and
            limits of liability:

                  a. While logged onto the Uber application provided by Company and available to receive
                     User requests, but prior to being matched with a User, Company maintains primary
                     automobile liability insurance in the amount of $50,000 for death and bodily injury per
                     person, $100,000 for death and bodily injury per incident and $25,000 for property
                     damage. In addition, during this period Company maintains Personal Injury Protection
                     coverage in amounts required by law.

                  b. Beginning when a User request for transportation has been accepted within the
                     Uber application and ending when the last requesting User departs from your
                     vehicle, a trip is ended, or a trip is cancelled, whichever is later, Company
                     maintains primary automobile liability insurance in the amount of $1,000,000 for
                     death, bodily injury and property damage. In addition, during this period
                     Company maintains Medical Payments coverage in the amount of $5,000 per
                     insured. If a driver holds Comprehensive and Collision coverage on his/her
                     personal auto policy, then Company also maintains coverage for physical
                     damage to the vehicle with a $2,500 deductible.

         2. REQUIRED NOTICES. Company is required by law to make you aware of, and you
            must acknowledge, the following statutory requirements in the state of Florida: Your own
            automobile insurance policy might not provide any coverage while you are logged on to
            the digital network or are engaged in a prearranged ride, depending on the terms of your
            own automobile insurance policy. The provision of rides for compensation which are not
            prearranged rides subjects you to the coverage requirements imposed under s.
            324.032(1), Florida Statutes, and failure to meet such coverage requirements subjects
            you to penalties provided in s. 324.221, Florida Statutes, up to and including a
            misdemeanor of the second degree.

         3. YOUR INSURANCE. Company may at any time verify or obtain proof of insurance and
            other policy information about your insurance, including from your insurance provider or
            other third parties.




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